                                                           Case 17-12307-BLS          Doc 2100-1           Filed 12/07/18             Page 1 of 1
M&G Acounts Receivable Analysis - December 5, 2018

Outstanding:                                                                Pre-Petition                                             Post-Petition
 Lease ID                                 Description                        Total Pre-        July             July            November       November            November         Total Post-       Total
                                                                                              billings       Pmnt 8/8            billings       Pmnt 11/29         Pmnt 12/5
           Minimum Guaranteed Throughput on 58.47 ac Rail Yard Lease       $ 1,140,000.00 $ 1,160,340.00   $         -      $           -     $         -      $           -      $ 1,160,340.00 $ 2,300,340.00
           Guaranteed Minimum Throughput over OD 14                        $    33,500.00 $ 208,200.00     $         -      $           -     $         -      $           -      $ 208,200.00 $ 241,700.00
   21795   Mossi & Ghisolfi Logistics - 27.84 acre construction easement   $ 105,813.75 $      35,281.25   $ (35,281.25)    $     35,281.25   $ (35,281.25)    $           -      $          -   $ 105,813.75
           Rail Car Storage                                                $ 184,000.00 $      62,000.00   $ (62,000.00)    $     60,000.00   $         -      $    (60,000.00)   $          -   $ 184,000.00
           BMD Storage                                                     $     3,124.80 $          -     $         -      $           -     $         -      $           -      $          -   $     3,124.80
   21768   Monthly lease on 8 acre construction laydown site               $     9,000.00 $    18,000.00   $ (18,000.00)    $     18,000.00   $ (18,000.00)    $           -      $          -   $     9,000.00
   21806   Monthly lease on 6 acre construction laydown west of ADM        $    12,000.00 $    12,000.00   $ (12,000.00)    $     12,000.00   $ (12,000.00)    $           -      $          -   $    12,000.00
   21805   Monthly lease on 10 acre construction laydown at Rincon         $    12,500.00 $    12,500.00   $ (12,500.00)    $     12,500.00   $ (12,500.00)    $           -      $          -   $    12,500.00
   21809   Monthly lease of West Transfer Facility                         $    15,000.00 $          -     $         -      $     16,914.43   $ (16,914.43)    $           -      $          -   $    15,000.00
   21853   Cargo Dock 14 warehouse, 27,372 sf                              $    68,940.45 $    18,111.60   $ (18,111.60)    $     18,111.60   $ (18,111.60)    $           -      $          -   $    68,940.45
           Cargo Dock 14 warehouse, insurance                              $     1,354.64 $       355.88   $     (355.88)   $        444.16   $     (444.16)   $           -      $          -   $     1,354.64
           Cargo Dock 14 warehouse, south side billed at tariff            $     9,009.00 $     3,657.75   $   (3,657.75)   $      3,657.75   $         -      $     (3,657.75)   $          -   $     9,009.00
           2018 Annual FTZ Project Fees                                    $          -   $          -     $         -      $           -     $         -      $           -      $          -   $          -
           Chemtex - Additional Work Costs reimbursement for Oil Dock 14   $ 491,749.81 $            -     $         -      $           -     $         -      $           -      $          -   $ 491,749.81
           Passthru billing of SecOps Security Guard Services              $       852.88 $          -     $         -      $           -     $         -      $           -      $          -   $       852.88
           Catch-Up Billing Feb 2017 - Oct 2017 Transfer Facility          $    13,500.00 $          -     $         -      $           -     $         -      $           -      $          -   $    13,500.00
           Passthru billing of SecOps Security Guard Services              $       643.68 $          -     $         -      $           -     $         -      $           -      $          -   $       643.68
           Passthru billing of SecOps Security Guard Services              $       965.52 $          -     $         -      $           -     $         -      $           -      $          -   $       965.52
           Passthru billing of SecOps Security Guard Services              $       965.52 $          -     $         -      $           -     $         -      $           -      $          -   $       965.52
           Total                                                           $ 2,102,920.05 $ 1,530,446.48   $ (161,906.48)   $    176,909.19   $ (113,251.44)   $    (63,657.75)   $ 1,368,540.00 $ 3,471,460.05

                                        Total by Company                     Total Pre-        July          July        November      November      November       Total Post-       Total
           Mossi & Ghisolfi Logistics                                      $ 105,813.75 $      35,281.25 $ (35,281.25) $   35,281.25 $ (35,281.25) $         -    $           -  $ 105,813.75
           M&G Resins USA LLC                                              $ 1,997,106.30 $ 1,495,165.23 $ (126,625.23) $ 141,627.94 $ (77,970.19) $ (63,657.75) $ 1,368,540.00 $ 3,365,646.30
           Total                                                           $ 2,102,920.05 $ 1,530,446.48 $ (161,906.48) $ 176,909.19 $ (113,251.44) $ (63,657.75) $ 1,368,540.00 $ 3,471,460.05




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